Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18   Page 1 of 27 PageID 92




                         APPENDIX
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18              Page 2 of 27 PageID 93



                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

SEVEN NETWORKS, LLC,

              Plaintiff,
                                                  Civil Action No. 2:17-cv-442-JRG
v.
                                                  Lead Case
                                                  Jury Trial Demanded
GOOGLE LLC,

              Defendant.


SEVEN NETWORKS, LLC,

              Plaintiff,
                                                  Civil Action No. 2:17-cv-441-JRG
v.
                                                  Consolidated Case
                                                  Jury Trial Demanded
SAMSUNG ELECTRONICS AMERICA, INC. AND
SAMSUNG ELECTRONICS CO., LTD.,

              Defendants.


                  SEVEN NETWORKS, LLC’S NOTICE OF SUBPOENAS TO
        CEQUEL III COMMUNICATIONS I, LLC D/B/A SUDDENLINK COMMUNICATIONS

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Plaintiff SEVEN Networks, LLC will serve the subpoenas attached as Exhibit 1 on

Cequel III Communications I, LLC d/b/a Suddenlink Communications.




SEVEN’s Notice of Subpoenas to Suddenlink                                             Page 1

                                                                                     App'x 1
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18           Page 3 of 27 PageID 94



Dated: January 19, 2018

Respectfully submitted,

/s/ Nadia E. Haghighatian
Bruce S. Sostek
  State Bar No. 18855700
  Bruce.Sostek@tklaw.com
Max Ciccarelli                              Samuel F. Baxter
  State Bar No. 00787242                     Texas State Bar No. 01938000
  Max.Ciccarelli@tklaw.com                   sbaxter@mckoolsmith.com
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 Adrienne.Dominguez@tklaw.com                ehansen@mckoolsmith.com
Vishal Patel                                MCKOOL SMITH, P.C.
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  Vishal.Patel@tklaw.com                    Dallas, Texas 75201
                                            Telephone: (214) 978-4000
Nadia E. Haghighatian
  State Bar No. 24087652                    Telecopier: (214) 978-4044
  Nadia.Haghighatian@tklaw.com
                                            ATTORNEYS FOR PLAINTIFF
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1722 Routh St., Suite 1500
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214.969.1700
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ATTORNEYS FOR PLAINTIFF
SEVEN NETWORKS, LLC.




SEVEN’s Notice of Subpoenas to Suddenlink                                       Page 2

                                                                               App'x 2
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                  Page 4 of 27 PageID 95



                                   CERTIFICATE OF SERVICE

       I certify that on January 19, 2018, I served the foregoing document, along with all

exhibits and attachments, on counsel of record for Defendants via email.

                                                 /s/ Nadia E. Haghighatian
                                                 Nadia E. Haghighatian




SEVEN’s Notice of Subpoenas to Suddenlink                                                    Page 3

                                                                                             App'x 3
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18   Page 5 of 27 PageID 96




                 EXHIBIT 1




                                                                      App'x 4
          Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                               Page 6 of 27 PageID 97
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District of Texas
                                                       __________              __________
                    SEVEN Networks, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:17-cv-00442-JRG
                           Google LLC                                         )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                    &HTXHO,,,&RPPXQLFDWLRQV,//&GED6XGGHQOLQN&RPPXQLFDWLRQV
 To:                        FR&RUSRUDWLRQ6HUYLFH&RPSDQ\GED&6&/DZ\HUV,QFRUSRUDWLQJ6HUYLFH&RPSDQ\
                                               (WK6W6WH$XVWLQ7;
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



  Place: Thompson & Knight LLP                                                          Date and Time:
          1722 Routh St., Ste. 1500                                                                          02/09/2018 9:00 am
          Dallas, TX 75201

    ✔u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place: See Exhibit B                                                                 Date and Time:
                                                                                                            02/09/2018 9:00 am


       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/19/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                /s/ Nadia E. Haghighatian
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
SEVEN Networks, LLC                                                      , who issues or requests this subpoena, are:
1DGLD(+DJKLJKDWLDQ7KRPSVRQ .QLJKW//32QH$UWV3OD]D5RXWK6W6WH'DOODV7;
QDGLDKDJKLJKDWLDQ#WNODZFRP
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                        App'x 5
          Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                               Page 7 of 27 PageID 98
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:17-cv-00442-JRG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                            App'x 6
          Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                                   Page 8 of 27 PageID 99
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                               App'x 7
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                     Page 9 of 27 PageID 100



                                            EXHIBIT A

                                    DOCUMENT REQUESTS

       Please produce the following:

       1.      A copy of each agreement between you and Google that was in effect from

January 1, 2017, until August 22, 2017. By way of example and not limitation, this would

include any “Beta Service Agreement: Google Global Cache (GGC) Service” agreements.

       2.      All notices, requests, and consents sent to Google, or received from Google, in

connection with each agreement between you and Google that was in effect from January 1,

2017, until August 22, 2017. By way of example and not limitation, these would include any

change notifications (notices relating to the relocation of Equipment 1); contact & location details

(including those about Equipment location, such as address/floor/rack); and remote assistance

requests.

       3.      All correspondence between you and Google related to each agreement between

you and Google that was in effect from January 1, 2017, until August 22, 2017.

       4.      Documents sufficient to identify the location of Google Equipment housed by you

under each agreement between you and Google that was in effect from January 1, 2017, until

August 22, 2017, and the buildings, hallways, rooms, spaces, places, equipment, and other

locations where you house such Equipment.

       5.      All communications with Google regarding this subpoena or the litigation

between Google and SEVEN Networks, LLC. 2



   1
    Such equipment includes, for example, edge servers, edge nodes, and equipment relating to the
Google Global Cache service (hereinafter, “Equipment”).
   2
    SEVEN Networks, LLC v. Google LLC, Case No. 2:17-cv-00442-JRG, filed in the Eastern District of
Texas.



                                                                                              App'x 8
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                Page 10 of 27 PageID 101



                                          EXHIBIT B

                              REQUESTS FOR INSPECTION

       1.     The Google Equipment (for example, edge servers, edge nodes, and equipment

relating to the Google Global Cache service) housed by you under each agreement between you

and Google that was in effect from January 1, 2017, until August 22, 2017, and the buildings,

hallways, rooms, spaces, places, equipment, and other locations where you house such

Equipment.




                                                                                         App'x 9
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                         Page 11 of 27 PageID 102
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Eastern District of Texas
                                                       __________              __________

                    SEVEN Networks, LLC                                        )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      2:17-cv-00442-JRG
                           Google LLC                                          )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                    &HTXHO,,,&RPPXQLFDWLRQV,//&GED6XGGHQOLQN&RPPXQLFDWLRQV
To:                         FR&RUSRUDWLRQ6HUYLFH&RPSDQ\GED&6&/DZ\HUV,QFRUSRUDWLQJ6HUYLFH&RPSDQ\
                                               (WK6W6WH$XVWLQ7;
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See Exhibit A


 Place: Thompson & Knight LLP                                                          Date and Time:
           1722 Routh St., Ste. 1500                                                                     02/13/2018 9:00 am
           Dallas, TX 75201

          The deposition will be recorded by this method:                     Audio, Video, and Stenographic

      u Production: You, or your representatives, must also bring with you to the deposition the following documents,
        electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
        material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/19/2018
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Nadia E. Haghighatian
                                           Signature of Clerk or Deputy Clerk                                   Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
SEVEN Networks, LLC                                                     , who issues or requests this subpoena, are:
1DGLD(+DJKLJKDWLDQ7KRPSVRQ .QLJKW//32QH$UWV3OD]D5RXWK6W6WH'DOODV7;
QDGLDKDJKLJKDWLDQ#WNODZFRP
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                App'x 10
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                       Page 12 of 27 PageID 103
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:17-cv-00442-JRG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $      0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                          App'x 11
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                                   Page 13 of 27 PageID 104
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                             App'x 12
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                    Page 14 of 27 PageID 105



                                            EXHIBIT A

                                     DEPOSITION TOPICS

       1.      Each agreement between you and Google that was in effect from January 1, 2017,

until August 22, 2017. By way of example and not limitation, this would include negotiations

and communications that resulted in the agreement, the conduct of the parties under the

agreement, and the obligations of the parties under the agreement.

       2.      Notices, requests, and consents sent to Google, or received from Google, in

connection with each agreement between you and Google that was in effect from January 1,

2017, until August 22, 2017. By way of example and not limitation, these would include any

change notifications (notices relating to the relocation of Equipment 1); contact & location details

(including those about Equipment location, such as address/floor/rack); and remote assistance

requests.

       3.      Correspondence between you and Google related to each agreement between you

and Google that was in effect from January 1, 2017, until August 22, 2017.

       4.      Communications between you and Google regarding this subpoena or the

litigation between Google and SEVEN Networks, LLC. 2




   1
    Such equipment includes, for example, edge servers, edge nodes, and equipment relating to the
Google Global Cache service (hereinafter, “Equipment”).
   2
    SEVEN Networks, LLC v. Google LLC, Case No. 2:17-cv-00442-JRG, filed in the Eastern District of
Texas.



                                                                                             App'x 13
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18             Page 15 of 27 PageID 106



                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

SEVEN NETWORKS, LLC,

              Plaintiff,
                                                  Civil Action No. 2:17-cv-442-JRG
v.
                                                  Lead Case
                                                  Jury Trial Demanded
GOOGLE LLC,

              Defendant.


SEVEN NETWORKS, LLC,

              Plaintiff,
                                                  Civil Action No. 2:17-cv-441-JRG
v.
                                                  Consolidated Case
                                                  Jury Trial Demanded
SAMSUNG ELECTRONICS AMERICA, INC. AND
SAMSUNG ELECTRONICS CO., LTD.,

              Defendants.


          SEVEN NETWORKS, LLC’S NOTICE OF SUBPOENAS TO CABLE ONE, INC.

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Plaintiff SEVEN Networks, LLC will serve the subpoenas attached as Exhibit 1 on

Cable One, Inc.




SEVEN’s Notice of Subpoenas to Cable One, Inc.                                        Page 1

                                                                                     App'x 14
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18           Page 16 of 27 PageID 107



Dated: January 23, 2018

Respectfully submitted,

/s/ Nadia E. Haghighatian
Bruce S. Sostek
  State Bar No. 18855700
  Bruce.Sostek@tklaw.com
Max Ciccarelli                               Samuel F. Baxter
  State Bar No. 00787242                      Texas State Bar No. 01938000
  Max.Ciccarelli@tklaw.com                    sbaxter@mckoolsmith.com
Herbert J. Hammond                           MCKOOL SMITH, P.C.
  State Bar No. 08858500                     104 E. Houston Street, Suite 300
  Herbert.Hammond@tklaw.com                  Marshall, Texas 75670
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  State Bar No. 24032287                      Texas State Bar No. 19196650
  Michael.Heinlen@tklaw.com                   tstevenson@mckoolsmith.com
Adrienne E. Dominguez                        Eric S. Hansen
  State Bar No. 00793630                      Texas State Bar No. 24062763
 Adrienne.Dominguez@tklaw.com                 ehansen@mckoolsmith.com
Vishal Patel                                 MCKOOL SMITH, P.C.
  State Bar No. 24065885                     300 Crescent Court, Suite 1500
  Vishal.Patel@tklaw.com                     Dallas, Texas 75201
                                             Telephone: (214) 978-4000
Nadia E. Haghighatian
  State Bar No. 24087652                     Telecopier: (214) 978-4044
  Nadia.Haghighatian@tklaw.com
                                             ATTORNEYS FOR PLAINTIFF
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  State Bar No. 24093247
 Austin.Teng@tklaw.com
Matthew Cornelia
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  Matt.Cornelia@tklaw.com
THOMPSON & KNIGHT LLP
One Arts Plaza
1722 Routh St., Suite 1500
Dallas, Texas 75201
214.969.1700
214.969.1751 (Fax)
ATTORNEYS FOR PLAINTIFF
SEVEN NETWORKS, LLC.




SEVEN’s Notice of Subpoenas to Cable One, Inc.                                   Page 2

                                                                                App'x 15
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                                   CERTIFICATE OF SERVICE

       I certify that on January 23, 2018, I served the foregoing document, along with all

exhibits and attachments, on counsel of record for Defendants via email.

                                                 /s/ Nadia E. Haghighatian
                                                 Nadia E. Haghighatian




SEVEN’s Notice of Subpoenas to Cable One, Inc.                                               Page 3

                                                                                         App'x 16
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18   Page 18 of 27 PageID 109




                   EXHIBIT 1




                                                                      App'x 17
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                               Page 19 of 27 PageID 110
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District of Texas
                                                       __________              __________
                    SEVEN Networks, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:17-cv-00442-JRG
                           Google LLC                                         )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                           Cable One, Inc.
                                       c/o C T Corp., 1999 Bryan Street, Suite 900, Dallas, Texas 75201
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



  Place: Thompson & Knight LLP                                                          Date and Time:
          1722 Routh St., Ste. 1500                                                                          02/12/2018 9:00 am
          Dallas, TX 75201

    ✔u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place: See Exhibit B                                                                 Date and Time:
                                                                                                            02/16/2018 9:00 am


       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/23/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                /s/ Nadia E. Haghighatian
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
SEVEN Networks, LLC                                                      , who issues or requests this subpoena, are:
1DGLD(+DJKLJKDWLDQ7KRPSVRQ .QLJKW//32QH$UWV3OD]D5RXWK6W6WH'DOODV7;
QDGLDKDJKLJKDWLDQ#WNODZFRP
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                      App'x 18
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                               Page 20 of 27 PageID 111
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:17-cv-00442-JRG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                        App'x 19
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                                   Page 21 of 27 PageID 112
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                             App'x 20
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                    Page 22 of 27 PageID 113



                                            EXHIBIT A

                                    DOCUMENT REQUESTS

       Please produce the following:

       1.      A copy of each agreement between you and Google that was in effect from

January 1, 2017, until August 22, 2017. By way of example and not limitation, this would

include any “Google Global Cache (GGC) Service” agreements.

       2.      All notices, requests, and consents sent to Google, or received from Google, in

connection with each agreement between you and Google that was in effect from January 1,

2017, until August 22, 2017. By way of example and not limitation, these would include any

change notifications (notices relating to the relocation of Equipment 1); contact & location details

(including those about Equipment location, such as address/floor/rack); and remote assistance

requests.

       3.      All correspondence between you and Google related to each agreement between

you and Google that was in effect from January 1, 2017, until August 22, 2017.

       4.      Documents sufficient to identify the location of Google Equipment housed by you

under each agreement between you and Google that was in effect from January 1, 2017, until

August 22, 2017, and the buildings, hallways, rooms, spaces, places, equipment, and other

locations where you house such Equipment.

       5.      All communications with Google regarding this subpoena or the litigation

between Google and SEVEN Networks, LLC. 2



   1
    Such equipment includes, for example, edge servers, edge nodes, and equipment relating to the
Google Global Cache service (hereinafter, “Equipment”).
   2
    SEVEN Networks, LLC v. Google LLC, Case No. 2:17-cv-00442-JRG, filed in the Eastern District of
Texas.



                                                                                             App'x 21
Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                Page 23 of 27 PageID 114



                                          EXHIBIT B

                              REQUESTS FOR INSPECTION

       1.     The Google Equipment (for example, edge servers, edge nodes, and equipment

relating to the Google Global Cache service) housed by you under each agreement between you

and Google that was in effect from January 1, 2017, until August 22, 2017, and the buildings,

hallways, rooms, spaces, places, equipment, and other locations where you house such

Equipment.




                                                                                       App'x 22
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                         Page 24 of 27 PageID 115
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Eastern District of Texas
                                                       __________              __________

                    SEVEN Networks, LLC                                        )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      2:17-cv-00442-JRG
                           Google LLC                                          )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:                                                             Cable One, Inc.
                                        c/o C T Corp., 1999 Bryan Street, Suite 900, Dallas, Texas 75201
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See Exhibit A


 Place: Thompson & Knight LLP                                                          Date and Time:
           1722 Routh St., Ste. 1500                                                                     02/16/2018 9:00 am
           Dallas, TX 75201

          The deposition will be recorded by this method:                     Audio, Video, and Stenographic

      u Production: You, or your representatives, must also bring with you to the deposition the following documents,
        electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
        material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/23/2018
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Nadia E. Haghighatian
                                           Signature of Clerk or Deputy Clerk                                   Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
SEVEN Networks, LLC                                                     , who issues or requests this subpoena, are:
1DGLD(+DJKLJKDWLDQ7KRPSVRQ .QLJKW//32QH$UWV3OD]D5RXWK6W6WH'DOODV7;
QDGLDKDJKLJKDWLDQ#WNODZFRP
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                App'x 23
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                       Page 25 of 27 PageID 116
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:17-cv-00442-JRG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $      0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                          App'x 24
        Case 3:18-mc-00017-G-BH Document 7-1 Filed 03/13/18                                                   Page 26 of 27 PageID 117
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                             App'x 25
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                                               EXHIBIT A

                                       DEPOSITION TOPICS 1

        1.      Each agreement between you and Google that was in effect from January 1, 2017,

until August 22, 2017. By way of example and not limitation, this would include negotiations

and communications that resulted in the agreement, the conduct of the parties under the

agreement, and the obligations of the parties under the agreement.

        2.      Notices, requests, and consents sent to Google, or received from Google, in

connection with each agreement between you and Google that was in effect from January 1,

2017, until August 22, 2017. By way of example and not limitation, these would include any

change notifications (notices relating to the relocation of Equipment 2); contact & location details

(including those about Equipment location, such as address/floor/rack); and remote assistance

requests.

        3.      Correspondence between you and Google related to each agreement between you

and Google that was in effect from January 1, 2017, until August 22, 2017.

        4.      Communications between you and Google regarding this subpoena or the

litigation between Google and SEVEN Networks, LLC. 3




    1
      To the extent any required witness mileage fee has not already been tendered, the mileage fee will
be tendered once the parties finalize the location of the deposition, should it be held at a location other
than the one specified in the subpoena, and determine from where the witness will be traveling.
    2
    Such equipment includes, for example, edge servers, edge nodes, and equipment relating to the
Google Global Cache service (hereinafter, “Equipment”).
    3
    SEVEN Networks, LLC v. Google LLC, Case No. 2:17-cv-00442-JRG, filed in the Eastern District of
Texas.



                                                                                                   App'x 26
